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         EXHIBIT G
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 1                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 2

 3      UNITED STATES OF AMERICA,              )
                                               )
 4                            Plaintiff        )
                                               ) No 1-19-cr-10080-NMG-8
 5      vs.                                    )
                                               )
 6      MOSSIMO GIANNULLI,                     )
                                               )
 7                            Defendant.       )
                                               )
 8                                             )

 9

10
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
11                         UNITED STATES DISTRICT JUDGE
                                    Sentencing
12

13

14

15                 John Joseph Moakley United States Courthouse
                                 Courtroom No. 4
16                              One Courthouse Way
                           Boston, Massachusetts 02210
17

18                                 August 21, 2020
                                     11:01 a.m.
19

20

21                         Kristin M. Kelley, RPR, CRR
                              Official Court Reporter
22                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
23                          Boston, Massachusetts 02210
                             E-mail: kmob929@gmail.com
24
                   Mechanical Steno - Computer-Aided Transcript
25
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 1      APPEARANCES:

 2

 3      ON BEHALF OF THE GOVERNMENT:

 4                OFFICE OF THE UNITED STATES ATTORNEY

 5                      By:   Kristen A. Kearney, AUSA

 6                      Eric S. Rosen, AUSA

 7                      Justin D. O'Connell, AUSA

 8                One Courthouse Way

 9                Boston, Massachusetts 02210

10

11      ON BEHALF OF THE DEFENDANT MOSSIMO GIANNULLI:

12

13                LATHAM & WATKINS, LLP

14                      BY: Sean M. Berkowitz

15                      Allison S. Blanco

16                      Perry J. Viscounty

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24                Boston, MA 02116

25
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                                                                          3




 1      APPEARANCES CONTINUED:

 2

 3                DONNELLY, CONROY & GELHAAR, LLP

 4                      BY: George W. Vien

 5                260 Franklin Street

 6                Boston, MA 02110

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         1                              P R O C E E D I N G S

         2                (The Honorable Court entered the videoconference at

         3      11:01 a.m.)

         4                THE CLERK:    This is Criminal Action No. 1910080, the

         5      United States of America versus Mossimo Giannulli.

         6                Will counsel please identify themselves for the

         7      record.

         8                MS. KEARNEY:    Good morning, your Honor.       Kristen

         9      Kearney for the government.

11:01   10                THE COURT:    Good morning, Ms. Kearney.

        11                MR. BERKOWITZ:     Sean Berkowitz and Allison Blanco for

        12      Mr. Giannulli.

        13                THE COURT:    If that was Mr. Berkowitz, we have an

        14      audio problem.

        15                MR. BERKOWITZ:     Okay, Judge.    Let me see what we can

        16      do about that.    Judge, is that better?

        17                THE COURT:    That is better.     Is it Mr. Berkowitz?

        18                MR. BERKOWITZ:     Mr. Berkowitz and Ms. Blanco on behalf

        19      of Mr. Giannulli.

11:02   20                THE COURT:    All right.    We are still having a little

        21      bit of difficulty with hearing you, Mr. Berkowitz.          If you can

        22      maybe move closer to the microphone, it might help.

        23                MR. BERKOWITZ:     Your Honor, can you hear me better

        24      now?

        25                THE COURT:    Yes.
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         1                  MR. BERKOWITZ:   Very good.

         2                  THE COURT:   All right.   Good morning to you,

         3      Mr. Berkowitz.    We also have Ms. Victoria from the Probation

         4      Office who is joining this meeting.

         5                  Before we start, I need to note for the record that we

         6      are proceeding today with a sentencing hearing by Zoom pursuant

         7      to General Order of this court, the National Emergency Act, and

         8      the so-called CARES Act, which was recently enacted by

         9      Congress.    These regulations relate to the coronavirus pandemic

11:03   10      and authorize, under certain circumstances such as these, the

        11      conduct of criminal proceedings by means of videoconferencing.

        12                  As the presiding judge, I am satisfied that we should

        13      proceed this way because both the government and the Defendant

        14      have requested to go forward with this sentencing hearing and

        15      believe that this is a matter of importance.         In the interest

        16      of justice, it ought not be delayed.        That leaves only the

        17      Defendant's consent to go forward by videoconference to be

        18      determined.

        19                  Mr. Giannulli, do you understand what I have just said

11:04   20      about proceeding with this sentencing by videoconference?

        21                  THE DEFENDANT:   Yes, sir.    I do.

        22                  THE COURT:   Have you discussed with your attorney your

        23      right to consent or not to consent to proceed in this fashion?

        24                  THE DEFENDANT:   Yes, sir.    I have.

        25                  THE COURT:   Do you now, in open court, consent to
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         1      proceed with your sentencing by videoconference?

         2                THE DEFENDANT:     Yes, sir.

         3                THE COURT:    All right.    I declare then that the

         4      Defendant has consented to go forward by videoconferencing and

         5      that, in the interest of justice, this sentencing hearing ought

         6      not be delayed, thus we are going to go forward using this new

         7      Zoom technology.     This is still a public hearing and these

         8      proceedings are being made available to members of the public,

         9      the press, and interested parties via Zoom technology.            Those

11:05   10      attendees are not, of course, permitted to participate in any

        11      other way in these proceedings.

        12                I also remind all of you who are attending this

        13      videoconference that Federal Rule of Criminal Proceeding 53 and

        14      local Rule 83.3 prohibit photographing, recording and

        15      broadcasting this proceeding, and any violation of these rules

        16      will subject the wrongdoer to sanctions and/or loss of press

        17      privileges.

        18                So we will now proceed with the sentencing.         I have

        19      received and read the Presentence Report submitted to me by the

11:05   20      Probation Officer and the government's consolidated Sentencing

        21      Memorandum.    Those are the only writings I received in this

        22      regard.   Is there anything that I haven't mentioned that I

        23      should have received?     Ms. Kearney?

        24                MS. KEARNEY:    Nothing else from the government, your

        25      Honor.
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         1                 THE COURT:   Mr. Berkowitz?

         2                 MR. BERKOWITZ:    Nothing on behalf of Mr. Giannulli,

         3      your Honor.

         4                 THE COURT:   All right.    Then before we begin I will

         5      inform counsel that, after having carefully considered the

         6      Presentence Report, I accept the so-called C plea that has been

         7      agreed to by Mr. Giannulli and the government.         That is because

         8      I conclude that the agreed upon sentence, including 5 months

         9      imprisonment, 3 years of supervised release, 250 hours of

11:06   10      community service and a fine of $250,000 is sufficient, but not

        11      greater than necessary, punishment under the circumstances.

        12      We, nevertheless, need to make certain findings for the record

        13      at this sentencing hearing, but there is no mystery about the

        14      outcome.

        15                 Proceeding, I understand there were two objections to

        16      the presentence report by the government, none by the

        17      Defendant.    Am I correct in that?     Ms. Kearney?

        18                 MS. KEARNEY:   Yes, your Honor.

        19                 THE COURT:   Mr. Berkowitz?

11:07   20                 MR. BERKOWITZ:    Yes, your Honor.

        21                 THE COURT:   The government's first objection was a

        22      matter that was taken care of by the Probation Officer.           The

        23      second was the usual objection that the Court has dealt with on

        24      numerous occasions before now with respect to the appropriate

        25      guideline sections to be used in connection with this sentence
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         1      and the calculation of the loss.

         2                With respect to government's objection No. 2, does the

         3      government wish to supplement it in any way?         Ms. Kearney?

         4                MS. KEARNEY:    No, your Honor.     We'll rely on our

         5      papers.

         6                THE COURT:    All right.    And I take it the Defendant

         7      does not wish to address this issue?        Mr. Berkowitz?

         8                MR. BERKOWITZ:     That is correct, your Honor.

         9                THE COURT:    All right.    With respect to the

11:08   10      government's objection No. 2, as I have ruled several times

        11      before, this session has determined that the fraud deceit

        12      guideline, that is Section 2B1.1, is applicable and not the

        13      commercial bribery guideline, Section 2B4.1, and that there is

        14      no specific loss or gain to be applied under the fraud

        15      guideline.    That is not to say that no loss was incurred at all

        16      as a result of the fraudulent, deceitful and criminal conduct

        17      of these defendants.     Although I perceive no specific

        18      calculable financial loss to the University of Southern

        19      California, there certainly was a loss to the overall

11:09   20      educational system in this country when Mr. Giannulli and

        21      Ms. Loughlin systematically hired Mr. Singer twice to bribe

        22      their daughters' way into college, but the monetary value of

        23      the harm they caused is indeterminable, therefore the

        24      government's objection No. 2 is overruled.

        25                I take it there are no other unresolved objections to
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         1   the Presentence Report.      Am I correct, Ms. Kearney?

         2               MS. KEARNEY:   Yes.

         3               THE COURT:   Mr. Berkowitz?

         4               MR. BERKOWITZ:   Correct.

         5               THE COURT:   Then we need to turn to establishing the

         6   appropriate guidelines in this case.       Recommendations in that

         7   regard are made for me by the Probation Office started at

         8   page 40 of the Presentence Report wherein I'm advised that the

         9   2018 Guideline Manual, that is the most recent manual, applies,

11:10   10   and within that we start with the conspiracy guideline.           That

        11   is 2X1.1.    That provides, in turn, that the base offense level

        12   is the base offense level for the guideline for the substantive

        13   offense.    In this case, that's mail and wire fraud and honest

        14   services mail and wire fraud, and it's Section 2B1.1 that

        15   applies.    Because the offense and conviction has a maximum

        16   statutory term of imprisonment of 20 years or more, the base

        17   offense level is 7 under that guideline section, subhead

        18   (A)(1).

        19               Do counsel agree with that recommendation?

11:10   20   Ms. Kearney?

        21               MS. KEARNEY:   Subject to our objection regarding the

        22   applicable guideline, we agree, yes, your Honor.

        23               THE COURT:   Mr. Berkowitz?

        24               MR. BERKOWITZ:   We agree on behalf of Mr. Giannulli,

        25   your Honor.
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         1             THE COURT:    All right.    There are no adjustments for

         2   role in the offense, therefore the adjusted offense level is 7.

         3   The Defendant is entitled to a two-level downward adjustment

         4   for his acceptance of responsibility, therefore ends up with a

         5   total offense level of 5.

         6             Turning to the Defendant's criminal history, there are

         7   no prior convictions, therefore he falls in Criminal History

         8   Category I and, therefore, that means the guideline range is as

         9   previously understood, 0 to 6 months.

11:11   10             Now, this is a C plea, as I understand it, and this

        11   has already been agreed to, but I need to hear formal

        12   recommendation for sentencing.

        13             We'll start with the government, Ms. Kearney.

        14             MS. KEARNEY:    Thank you, your Honor.      By now the Court

        15   is familiar with the facts of this case, and I want to take a

        16   moment to highlight three factors demonstrating why a sentence

        17   of 5 months imprisonment is appropriate here.

        18             First, Giannulli's conduct in this case evidences a

        19   complete disregard for right and wrong.        He understood from the

11:12   20   beginning that he was scheming the system to get his daughters

        21   into U.S.C. with outsiders, that he didn't need to pursue

        22   legitimate routes for admission, and that what he was doing was

        23   wrong, yet he went ahead with the scheme not once but twice.

        24             For example, the Defendant, in his own words, blew off

        25   the U.S.C. development officer who offered to flag his older
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         1   daughter's application.     The Defendant did not even pretend to

         2   pursue this legitimate course because he had already arranged

         3   for his daughter's admission through Singer's fraudulent

         4   scheme.

         5              When he was setting up a meeting with U.S.C.'s former

         6   athletic director, Giannulli understood he shouldn't say

         7   anything about his daughter's admission as a crew recruit and

         8   confirmed the same with Singer.      Then, within weeks of his

         9   older daughter's admission to U.S.C., he reengaged Singer to

11:12   10   repeat the scheme for his younger daughter without a second

        11   thought.   And perhaps most brazenly, Giannulli had no problem

        12   looking his daughter's high school counselor in the eye and

        13   bluntly telling him his daughter was a coxswain when, of

        14   course, she was not.     This disrespect for right and wrong

        15   deserves a meaningful sentence of imprisonment.

        16              Second, Giannulli, like Devin Sloane, Agustin Huneeus,

        17   Michelle Janavs, and Toby MacFarlane, who each received

        18   sentences in the 4 to 6-month range, exposed his daughters to

        19   the scheme and allowed them to become complicit in it.            Not

11:13   20   only did he have them pose for pictures on a rowing machine,

        21   but he allowed them to be copied on e-mails about, for example,

        22   a coxswain profile and registering with the NCAA.         Giannulli

        23   also allowed Singer to encourage his younger daughter to keep

        24   her admission to U.S.C. hush hush.       And he and his wife coached

        25   their daughter on how not to draw attention about her elicit
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         1   admission with her high school counselor.

         2             THE COURT:    Excuse me, Ms. Kearney.      May I just stop?

         3   If you'll move a little closer to the microphone, you're

         4   cutting out a little bit.

         5             MS. KEARNEY:    Apologies, your Honor.

         6             This kind of behavior is not simply over zealous

         7   parenting, as the PSR notes that one person close to Giannulli

         8   has suggested.    It is criminal and deserving of the proposed

         9   five month sentence of imprisonment.

11:14   10             And, third, Giannulli's interactions with his

        11   daughter's high school counselor demonstrate a privilege and

        12   entitled attitude for which prison is the only leveler.           As an

        13   example, when the high school counselor raised questions about

        14   whether his younger daughter was really a coxswain, Giannulli

        15   displayed his impudence by responding, quote, “Fuck him.”          Nor

        16   did he have any problem confronting the counselor.

        17   Contemporaneous notes reflect that Giannulli was acting, quote,

        18   aggressively, and made the counselor, quote, visibly nervous.

        19   Giannulli went as far as to blame the counselor and suggested

11:15   20   that he, the counselor, was the one in the wrong when Giannulli

        21   knew full well that he had arranged for his daughter's

        22   fraudulent admission.

        23             Most tellingly, in his confrontation with the

        24   counselor, Giannulli had the audacity to tell the counselor

        25   that he knows lots of people and had a lot done for him.          In
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         1   other words, he was essentially asking the counselor, don't you

         2   know who I am.

         3              A meaningful period of incarceration is necessary to

         4   make clear to this Defendant that he is not above the law.        For

         5   these reasons, as well as those outlined in the government's

         6   Sentencing Memorandum, the government recommends that the Court

         7   accept the plea, the terms of Giannulli's plea agreement, and

         8   sentence him to 5 months of imprisonment, a fine of $250,000,

         9   and 24 months of supervised release with 250 hours of community

11:16   10   service.   Thank you.

        11              THE COURT:   Thank you, Ms. Kearney.

        12              Mr. Berkowitz?

        13              MR. BERKOWITZ:   Thank you, your Honor.      The government

        14   and the defense negotiated this plea agreement in good faith

        15   and at arm's length, both believing that a sentence of 5 months

        16   is sufficient, but not greater than necessary, in this case.

        17   It's an appropriate sentence when you balance Mr. Giannulli's

        18   life with the crime that he has been convicted of, your Honor.

        19              Your job is to sentence individuals as well as crimes.

11:16   20   I think there's been a lot about the crime discussed here and

        21   Mr. Giannulli, Moss I'm going to call him, who I proudly

        22   represent, is not above the law.       He sits here today humbled

        23   and he is before you accepting the sentence that you're going

        24   to impose.

        25              I would not be doing my job if I didn't provide some
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         1   additional context that I think is for you to better understand

         2   who the man is that you're going to be sentencing today.

         3               Moss was born into a working class family in

         4   Los Angeles.    He's 57 years old.     His father was a landscape

         5   architect and his mother was a homemaker.        Moss graduated with

         6   a high school diploma in 1981 and attended one semester at

         7   Orange Coast College before leaving to start his own clothing

         8   apparel business.    He met and married Ms. Loughlin, who you

         9   will be sentencing later today, in 1995.        The two married and

11:17   10   have two children.    Moss also has a son from a previous

        11   marriage.

        12               He has worked incredibly hard to achieve success in

        13   the fashion industry, your Honor.       He has consistently given

        14   back, recognizing that he is privileged, and he has given back

        15   in charitable donations, both to educational institutions as

        16   well as dozens of other charitable institutions.

        17               He is fiercely devoted to his children.      He's always

        18   had close relationships with both his daughters and his son.

        19   He's tried over the years and his life to be a positive role

11:18   20   model for them, instilling in them a work ethic and

        21   self-confidence which is evident in the accomplishments of his

        22   children.

        23               As important and fulfilling as his career has been,

        24   your Honor, Moss's top priority was, is and always will be his

        25   children.    I say that not to excuse the conduct, your Honor.
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         1   We are here accepting full responsibility, but I say it to

         2   provide context for the mistakes and the criminal decisions

         3   that Moss made, because we believe that this contextualizes

         4   what are out of character choices that were made.         It also puts

         5   into context the overwhelming toll that this case has taken on

         6   him and his family.

         7              In addition to those issues, your Honor,

         8   Mr. Giannulli, Moss, lost his father in early 2019 to heart

         9   disease and his mother passed after he was arrested in this

11:19   10   matter last year after battling cancer.

        11              I'm going to talk a little bit about the nature of the

        12   offense and the consequences of the offense, your Honor,

        13   because I do think that what you've heard from the government,

        14   while accurate, I want to make sure there's a fuller picture of

        15   what happened.

        16              Mr. Giannulli did not attend or graduate from college.

        17   He and his wife needed assistance in order to help navigate the

        18   process.   They went to Mark Hauser, who was the chair of the

        19   board of trustees of his children's school.        Mr. Hauser

11:19   20   recommended Rick Singer to them as a renowned college counselor

        21   who would help guide them through the process and work with

        22   their daughters.    At the time, he was not presented as a felon

        23   or a huckster or a fraud.      He was presented both by Mr. Hauser,

        24   as well as generally in the public, as a reputable college

        25   counselor, a published author, and someone who had successfully
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         1   helped young people prepare for college.

         2             And that was in May of 2015.      For close to a year,

         3   that's exactly what he did for the family.        He provided the

         4   daughters with tutoring.     He provided them assistance as they

         5   wrote their personal statements.       He recommended

         6   extracurricular business programs, and he offered other support

         7   and advice and was very close to the family in doing those type

         8   of things.

         9             It wasn't until April of 2016, almost a year later,

11:20   10   that Mr. Singer first suggested the "side door" that you've

        11   heard about.    I want to be really clear that never did

        12   Mr. Singer suggest to Moss or his family that his daughters

        13   cheat on their tests.     In fact, both daughters achieved strong

        14   grades as well as strong test scores and got into several

        15   colleges legitimately, your Honor.

        16             Having said that, when Mr. Singer made the

        17   recommendation of the "side door" which you've heard about,

        18   Moss ignored alarm bells, he ignored red flags, and he went

        19   ahead and even assisted by taking pictures, as you've heard.

11:21   20   So he accepts responsibility for those decisions, which were

        21   wrong and which have caused untold consequences both for him

        22   and the public at large.

        23             I want to talk a little bit about -- we talked about

        24   the pictures.    A couple of additional facts just to round out

        25   the record, your Honor, neither Mr. Giannulli or his daughters
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         1   nor his wife saw the actual application that was submitted.        In

         2   fact, the pictures that Mr. Giannulli took were never submitted

         3   to U.S.C.    The money that was paid was paid.       He paid a

         4   significant amount of money both directly to U.S.C. and to the

         5   Key World Foundation.     No monies were ever paid directly to a

         6   coach.

         7               Having said that, and make no mistake, the mistakes

         8   that Mr. Giannulli made were criminal, they were wrong, and he

         9   should not have done what he did.       He regrets deeply bringing

11:22   10   his wife into the scheme.      He regrets deeply the consequences

        11   that this has had for his family.       His children have been

        12   bullied, both on social media and in person disproportionate to

        13   other children in the scheme.      The family has been the face of

        14   the crisis and the scandal in a way disproportionate to their

        15   overall role.    You'll hear more about that this afternoon.

        16               Your Honor, the time that Mr. Giannulli has had to

        17   reflect on all of this really comes down to the harm that he's

        18   caused his family, the terrible decisions that were made.         This

        19   is a good man who made terrible mistakes that were criminal,

11:23   20   and he accepts full responsibility for those mistakes and

        21   crimes.   He will work hard when he ends his sentence to rebuild

        22   his reputation and make a positive impact on society.

        23               When you balance, your Honor, who Mr. Giannulli is

        24   with what he did, we're pleased that it sounds as if you agree

        25   that a 5-month sentence of incarceration that the government
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         1   and Mr. Giannulli have agreed on is the appropriate sentence in

         2   this case.    Thank you for your time.

         3              THE COURT:   All right.     Thank you, Mr. Berkowitz.

         4   Does the Defendant wish to address the Court before sentence is

         5   imposed?

         6              THE DEFENDANT:   I do.    Thank you, your Honor.        As Sean

         7   said, I deeply regret the harm that my actions --

         8              THE COURT:   Mr. Giannulli, please move closer to the

         9   microphone.    Maybe you could change places with your attorney.

11:24   10   Thank you.

        11              THE DEFENDANT:   Is this better?     Thank you, your

        12   Honor.   I do deeply regret, as Sean said, the harm that my

        13   actions have caused my daughters, my wife and others.             I take

        14   full responsibility for my conduct.       I'm ready to accept the

        15   consequences and move forward with the lessons I've learned

        16   from this experience.     Thank you.

        17              THE COURT:   All right.     Do counsel know of any reason

        18   why sentence ought not to be imposed at this time?

        19   Ms. Kearney?

11:24   20              MS. KEARNEY:   No.

        21              THE COURT:   Mr. Berkowitz?

        22              MR. BERKOWITZ:   No, your Honor.

        23              THE COURT:   Mr. Giannulli, normally, if you were in

        24   this courtroom, I would ask you to stand at this stage of the

        25   proceeding.    That's because this is a solemn moment that I am
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         1   required to sentence somebody who is convicted of a federal

         2   crime.

         3             I never know where to begin when I sentence someone in

         4   this college admissions scandal because it astonishes me every

         5   time that I have to do it.      You have pled guilty and now stand

         6   convicted of a crime motivated by hubris.        And that's defined

         7   as wanton arrogance resulting from excessive pride.

         8             That is not something which I usually am concerned

         9   when I have to sentence a defendant in this courtroom.            I see

11:25   10   lots of drug dealers, gun runners, and people who have

        11   committed violent crimes who have grown up without role models,

        12   sometimes having been abused themselves, and living in squalid

        13   conditions and who did not know better.

        14             That's not so with you, Mr. Giannulli.        You grew up in

        15   a stable, happy family.     In fact, you described your childhood

        16   yourself as fantastic, the good life in Southern California.

        17   You are an informed, smart, successful businessman.          You

        18   certainly did know better and you helped sponsor a breathtaking

        19   fraud on our system of education and involved your wife and

11:26   20   your two daughters in cheating and faking their way, ways, into

        21   a prestigious university.

        22             You are not stealing bread to feed your family.           You

        23   have no excuse for your crime, and that makes it all the more

        24   blameworthy.   If I have to send to jail those who commit crimes

        25   yet did not know better, surely it is equitable that I send
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         1   you, who knew full well the criminality of your conduct, to

         2   jail.   I need to do that not only as punishment and deterrence

         3   for you, but also to dissuade and deter anyone else in your

         4   position who thinks that because they have enough money to buy

         5   anything they want, they can flout the law and buy their kids

         6   entries into college.     That's not the way it works in this

         7   country, as you are about to find out.

         8               Pursuant to the Sentencing Reform Act of 1984 and

         9   having considered the sentencing factors enumerated in Title 18

11:27   10   of the United States Code Section 3553(a), it is the judgment

        11   of this Court that you, Mossimo Giannulli, are hereby committed

        12   to the custody of the Bureau of Prisons to be imprisoned for a

        13   term of 5 months.    Upon release of imprisonment, you shall be

        14   placed on a term of supervised release for 2 years.          Within

        15   72 hours of release from custody of the Bureau of Prisons, you

        16   shall report in person to the district to which you are

        17   released.

        18               It is further ordered that you shall pay to the United

        19   States a fine of $250,000.      It is further ordered that you

11:28   20   shall make a lump sum payment of $250,000, which is due within

        21   60 days of this sentencing.

        22               Any fine imposed is to continue to be paid until the

        23   full amount, including any interest required by law, is paid.

        24   All fine payments shall be made to the Clerk of the United

        25   States District Court.     You are to notify the United States
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         1   Attorney for this district within 30 days of any change of

         2   mailing or residence address that occurs while a portion of

         3   that fine remains unpaid.

         4             While under the Probation Office's supervision, you

         5   are to comply with the following terms and conditions: First,

         6   you shall not commit another federal, state or local crime.

         7   You shall not unlawfully possess a controlled substance.           Drug

         8   testing conditions are suspended based upon the Court's

         9   determination that you pose no risk of substance abuse.

11:29   10             You are to comply with the standard conditions that

        11   have been adopted by this Court and are described in the

        12   Sentencing Guidelines at Section 5D1.3(c) and which will be set

        13   forth in detail in the Judgment and Committal.

        14             The following special conditions apply during your

        15   supervised release: You must complete 250 hours of community

        16   service at an agency approved by the Probation Office.            You

        17   must pay the balance of any fine or restitution imposed to a

        18   court ordered repayment schedule.       You are prohibited from

        19   incurring new credit charges or opening additional lines of

11:30   20   credit without the approval of the Probation Office while any

        21   financial obligation remains outstanding.        You are to provide

        22   the Probation Office access to any requested financial

        23   information which may be shared with the Financial Litigation

        24   Unit of the United States Attorney's office.

        25             It is further ordered that you shall pay to the United
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         1   States a Special Assessment of $100, which shall be due and

         2   payable immediately.

         3             Although you have waived most of your rights to

         4   appeal, to the extent you have any right to appeal,

         5   Mr. Giannulli, you must exercise that right within 14 days.            If

         6   you cannot afford an attorney, an attorney will be appointed on

         7   your behalf.   Do you understand that?

         8             THE DEFENDANT:    I do, sir.

         9             THE COURT:    Then it is further ordered that you are to

11:30   10   self-surrender at an institution designated by the Bureau of

        11   Prisons 90 days from today, that is Thursday, November 19,

        12   2020, before 2:00 p.m.

        13             Is there any further business to come before the Court

        14   in these proceedings?     Ms. Kearney?

        15             MS. KEARNEY:    Yes, your Honor.     At this time, the

        16   government moves to dismiss Counts 2 and 3 as to Mr. Giannulli.

        17             THE COURT:    Counts 2 and 3 are dismissed.       Anything

        18   else?

        19             MS. KEARNEY:    No, your Honor.

11:31   20             THE COURT:    Mr. Berkowitz?

        21             MR. BERKOWITZ:    Yes, your Honor.     We would ask that

        22   you recommend to the Bureau of Prisons that the institution

        23   that would be appropriate for surrender would be Lompoc in

        24   California, recognizing it's ultimately up to the Bureau of

        25   Prisons as to how to handle it.
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         1             THE COURT:    I will recommend that the Bureau of

         2   Prisons refer or incarcerate Mr. Giannulli in a camp that's

         3   close to his home, preferably Lompoc, but it will depend on the

         4   security level which they believe is appropriate.         And that

         5   will be my recommendation.

         6             MR. BERKOWITZ:    Very much appreciated, your Honor.

         7             THE COURT:    Is there any further business to come

         8   before the Court in these proceedings?        Ms. Kearney?

         9             MS. KEARNEY:    No.   Thank you, your Honor.

11:32   10             THE COURT:    Mr. Berkowitz?

        11             MR. BERKOWITZ:    No, your Honor.

        12             THE COURT:    Then we are adjourned.     Thank you.

        13             (Whereupon, at 11:35 a.m. the sentencing concluded.)

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 1                                 CERTIFICATE

 2

 3             I, Kristin M. Kelley, do hereby certify that the

 4   foregoing record, Pages 1 through 23, is a complete, accurate

 5   and true transcription of my stenographic notes taken in the

 6   aforementioned matter to the best of my skill and ability.

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                                KRISTIN M. KELLEY
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